      Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 1 of 27




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION                F   I   L   ED
                                                            DEC 1 02016

CLINTON STRANGE,
Plaintiff
                                                   6:1 8-CV-OO 1 80-ADA-JCM




V.




GLOBAL VIRTUAL OPPORTUNITIES, INC.,
Defendant




            PLAINTIFF'S MOTION FOR DEFAULT JUDGEMENT
        Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 2 of 27




                               Preliminary Statement:

    Pro Se Plaintiff Clinton Strange hereby moves, pursuant to Federal Rule of

Civil Procedure 5 5(b), for Default Judgement against Defendant GLOBAL

VIRTUAL OPPORTUNITIES, INC. on the basis that Defendant failed to serve a

response to Plaintifrs complaint within the time permitted under Federal Rule of

Civil Procedure 12(a), and Defendant has not otherwise appeared in this action. In

support of this request the Plaintiff relies upon the record in this case and the

affidavit submitted herein.

 Factual Statements Regarding Lawful Service of Summons and Complaint:

   1.   Plaintiff filed his complaint over-the-counter "otc" with the U.S. District

        Clerk's office in the Waco, Texas Division on July 3, 2018. [ECF No.7].

   2. On September 6, 2018 at 10:1 8am CST a Deputy U.S. Marshall served an

        individual named M. Diaz the summons and complaint at the address of the

        Defendant's registered agent. [ECF No. 81.

   3. Defendant knew that the registered agent had been served the summons and

        complaint because the Defendant's President emailed the Plaintiff 69

        minutes after Service was made {See Exhibit A].

  4. Prior to the lawful service of process ; the Plaintiff's last communication

        from or with Defendant was   '- 3   Months prior   [See Exhibit A].
   Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 3 of 27




5. The Deadline for a response by the Defendant to the Summons and

   Complaint was September 27, 2018. [ECF No.8].

6. The Clerk entered a Clerk's Entry     of Default on October 11,2018 [ECF

   No.111.

7. Defendant has failed to respond to the summons and complaint that Plaintiff

   caused to be served upon Defendant's registered agent by the U.S. Marshall

   Service on September 6, 2018 at 10:18am CST. Defendant has not filed any

   response to the Plaintiff's complaint, Defendant has not entered an

   appearance in this matter, nor has Defendant sought additional time within

   which to respond or otherwise appear in this action.

8. The Defendant's Registered agent resigned on September 18, 2018. Plaintiff

   as of the date of this filing has no listed registered agent to serve copies of

   court filings on   [See Exhibit B].


                        Defendant is Not in Military Service:

9. The Defendant is not a "servicemember"; and a Corporation CANNOT

   claim protection under the Servicemembers Civil Relief Act "SCRA" 50

  U.S. Code §3911(1).

10. In a case before the Third Circuit Court   of Appeals the issue of

  Corporations and/or their Officers and Directors seeking protection under
  Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 4 of 27




   the SCRA came about, and the court denied the alleged miscreant relief

   Davis   v.   City ofPhiladelphia, No. 15-2937 (3d Cir. 2016) [See Exhibit C].

11. The Defendant in this case has not however appeared at all and has not

   invoked protection under the SCRA.

12. The Defendant is a Corporation and cannot be afforded the protection     of the
   SCRA under the law.

13. Plaintiff did make an effort to ensure compliance with the SCRA by going

   online to the U.S. Department of Defense Manpower Data Center Website

   and performing a search for the Defendant.

14. The search as referenced in the foregoing paragraph indicated that the

   Defendant is NOT in Military service, and NOT entitled to relief under the

   SCRA [See Exhibit D].

   WHEREFORE, Plaintiff prays that the Court will enter a Judgement of

  Default against the Defendant.



  Respectfully Submitted,

  xai
  Clinton Strang
                                      /-Q
                                      Dated
                                                       ('?
  Pro Se
  7021 Winburn Drive
  Greenwood, LA 71033
  318-423-5057
  parsml1c(gmail.com
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 5 of 27




                       EXHIBIT A
            Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 6 of 27




    From: Joel Therien
    Sent: Thursday, September 6, 2018 11:27 AM
    To Precision Appliance Repair
    SubjEt Re: L.etter received to Global Virtual Opportunities


    Hi Clinton,

    Took me 2 weeks to find this email address wow kind of off. 47usc227etsea      11     Is not exactly
    memorable.
    did you get the signed copy of your summons?

    On Wed, Jun 6, 2018 at 2:23 PM, Precision Appliance Repair <47usc227etseqlgmpØ.com> wrote:

     Dear Joel Therlen:




        May I please have the names and contact information for the marketing firms you 'reached out to'
     solmayreachouttothem?



     Regards,


                Aii




     Sent from Mail for Windows 10




     From: Joel Therien
     Sent: Wednesday, June 6, 2018 10:05 AM
     To: 4lusc227etseci@gmail.00m;
     Subject: Letter received to Global Virtual Opportunities




     Dear Mr Strange,




I    In no way did we admit we sent the text message because we didnt. Lets get that 100% dear.
I    In fact we have no idea who sent It. We reached out to a few marketing firms promoting our products
     so we were here to help you not hinder you.
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 7 of 27




                       EXHIBIT B
 12/6/2018           Case 6:18-cv-00180-ADA-JCM Document     14 Results
                                                  Franchise Search Filed 12/10/18 Page 8 of 27




                                                  Franchise Tax Account Status
                                                       As of: 12/06/2018 07:08:55



                                 This Page is Not Sufficient for Filings with the Secretary of State




https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#                                                        1/1
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 9 of 27




                       EXHIBIT C
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 10 of 27




                                                 PRECEDENTIAL

               UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT


                                No. 15-2937


                     MICHAEL F. DAVIS;
                GLOBAL SALES CALL CENTER LLC



                      CITY OF PHILADELPHIA

                           Michael F. Davis,
                                        Appellant


            On Appeal from the United States District Court
                for the Eastern District of Pennsylvania
                       (D.C. No. 2-14-cv-06979)
             District Judge: Honorable Gerald J. Pappert


             Submitted Under Third Circuit L.A.R. 34.1(a)
                          March 4, 2016

       Before: McKEE, Chi efJudge, SMITH, and HARDIMAN,
                               Circuit Judges.


                         (Filed: May 4, 2016)

      Earl D. Raynor, Jr.
      234 North Peach Street
      Philadelphia, PA 19139
                  Counselfor Appellant

      Michael A. Siddons
      230 North Monroe Street
      P.O. Box 403
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 11 of 27



      Media, PA 19063
                    Counselfor Appellee



                       OPINION OF THE COURT


      HARDIMAN, Circuit Judge.

              Federal law confers various protections on United
      States servicemembers called to active duty. Among these are
      limits on the interest and penalties that may be charged to a
      servicemember for overdue property taxes. Michael Davis,
      who served his country in both Iraq and Afghanistan, appeals
      the District Courts order dismissing his lawsuit challenging
      delinquent property tax interest and penalties that the City of
      Philadelphia assessed against his company while he was on
      active duty. The question presented by this appeal is whether
      the protections afforded to Davis as a servicemember extend
      to his company's property.

                                     I

             Davis and his wife purchased a two-story, three-
      bedroom rental property at 5624 Willows Avenue in
      Philadelphia on July 15, 1997. A longtime member of the
      United States Army Reserve, Davis was called to active duty
      in December 2004. A few months after he was called up,
      Davis and his wife transferred the property to Global Sales
      Call Center LLC, a Pennsylvania company that is solely
      owned and managed by Davis.' Davis served six months of
      active duty in Iraq in 2005 and three years in Afghanistan
      between 2008 and 2011.




                The Davises did so to "insulate themselves from
      liability because [Davis] was on active duty [in the Army]
      and his wife was unable to manage the property." Davis v.
      City ofPhiladelphia, 2015 WL 4461770, at *1 n. 1 (ED. Pa.
      July 21, 2015).
                                    ';I
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 12 of 27



             In December 2009, Davis and Global asked the
      Philadelphia Department of Revenue to reduce Global's
      property tax debt in accordance with the Servicemembers
      Civil Relief Act (SCRA), 50 U.S.C. § 3901 et seq., which
      limits any interest imposed on a serviceinember's delinquent
      property taxes during his period of active duty to a rate of six
      percent and forbids any additional penalties.2 50 U.S.C. §
      3991(d), 3937(a)(l). The Dc         ent denied this request on
      the grounds that the SCRA does not apply to a business
      owned by a serviceinember, telling Davis that he should
      instead file an abatement petition with the Philadelphia    Tax
      Review Board. Davis did so in January 2010, rehashing his
      SCRA argument and requesting a recalculation of the interest
      and penalties assessed against Global based on its overdue
      property taxes. The Review Board denied the petition after a
      March 2011     bearing.


              Two years later the City of PhiladelphIa initiated
      foreclosure proceedings on Global's property          use of its
      failure to pay the delinquent property taxes and associated
      interest and penalties, and the Philadelphia Court of Common
      Pleas entered judgment in the City's favor. In a subsequent
      hearing upon a petition to open the judgment, Davis again
      requested an abatement of Global's debt, reasserting that the
      interest and penalties assessed by the City violated the SCRA
      and neglecting to inform the Court that the Review Board bad
      already considered and rejected this argument After leanilag
      of the Review Board's decision, the Court of Common Pleas
      ruled in the City's favor and signed the foreclosure petition.

            Davis and Global then turned to federal court, suing
      under 42 U.S.C. § 1983, which "provides a recovery
      mechanism for the deprivation of a federal right by a person
      acting under color of state law."        Hynson By &         ugh
      Hynson   v.   City   of Chester Legal Dejft, 864 F.2d 1026, 1029
      (3d Cit. 1988). The City moved to dismiss, arguing that it had
      applied the SCRA to Davis's personal liabilities (those arising


             2Davis alleges that nearly half of the $17,120.47
      demanded by the City in back taxes and court costs is illegal
      under the SCRA.
                                        3
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 13 of 27



      during the brief period between Davis's transition to active
      duty and his transfer of the Willows Avenue property to
      Global) and that both Davis and Global lack standing.

                The   District Court granted the City's               motion.   The
      Court      reasoned     that        the     SCRA        extends    only    to
      serviceniembers   and that a corporation is not a
      "servicemember" under the statute. Davis v. City of
      Philadelphia, 2015 WL 4461770, at *3 (ED. Pa. July 21,
      2015). Accordingly,     concluded that Global was without
                                   it

      statutory standing to seek relief under the  SCRA. Id The
      Court also dismissed Davis's suit, holding that    cause he
      was not personally liable for Global's tax debt*hc "has not
            denied reliefunder the SCRA," Id.

              Global did not appeal, but Davis did.3




              This appeal     is    our   first   opportunity to interpret the
      Servicemeinbers Civil ReliefAct. This straightforward statute
      provides that any interest imposed on a servicemember's late
      property taxes during a period of active duty              may not cx
      six   percent.     50
                          U.S.C. § 3991(a), (d), 3937(a), and
      391 I(2)(AXi), (3). The law also bars any additional charges
      or interest under the guise of a "penalty." 50 U.S.C.
      § 3991(d).      These property tax           interest    rate   and penalty
      protections extend only to "property ...                owned   individually
     by a servkemember or jointly by a servicemember and a
     dependent or d   dents." 50 U.S.C. § 3991(e) (emphasis
      added).   The   SCRA defines a "servicemember" as "a member
     of the uniformed services." 50 U.S.C. § 3911(1).



                The               had jurisdiction under 28 U.S.C.
                       District Court
     § 133! and 28 U.S.C. § 1343. We have jurisdiction under 28
     U.S.C. § 1291. We reject the City's odd suggestion that our
     inquiry is merely whether the District Court's order is
     "clearly erroneous" or amounts to an abuse of discràion. City
     Br. 8, 13, 16; but see Id. at 14-15 (correctly identilying our
     standard of review). Our review is plenary, Ballentine v.
     Unlied States, 486 F.3d 806, 808 (3d Cir, 2007).
                                            4
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 14 of 27



             Although the parties view this case purely in terms of
      standing, we see it somewhat differently. As we shalt explain,
      Global lacks standing, but Davis does have standing to sue.

               Standing   is   a sine qua non in any case. See Warth      i

      Seldin, 422 U.S. 490, 498 (1975). There are                   of
      standing: (1) constitutional standing owing to the "irreducible
      constitutional minimum" of the existence of an Article 111
      "case or controversy," Lujan v. Deft. of Wildlife, 504 U.S.
       555, 560 (1992); (2) prudential standing consistent with
       'judicially self-imposed limits on the exercise of federal
      jurisdiction," United States v. Windsor, 133 S. Ct. 2675, 2685
      (2013); and (3) statutory standing, which is at issue in this
       case. Whereas "[clonstitutional and prudential standing are
      about, respectively, the constitutional power of a federal court
       to resolve a dispute and the wisdom of so doing," statutory
      standing is simply a matter of statutory interpretation. Graden
      v. Conexant 5ys. Inc., 496 F,3d 291, 295 (3d Cir. 2007). We
      inquire "whether Congress has accorded this injured plaintiff
      the right to sue the defendant to redress his injury," id.

              Applying these principles, the District Court correctly
      held that Global is not a "servicemember" under the SCRA,
      as it is not a "member of the uniformed services." 50 U.S.C.
      § 3911(1). Although federal law treats corporations as
      "people" in many respects, it does not deem them soldiers.
      Moreover, the SCRA limits the class of persons who may
      petition a court for relief under the Act to those with
      "servicemember" status. 50 U.S.C. § 402 1(a). Thus, the plain
      language of the SCRA precludes Global's standing.

             Unlike Global, Davis is a servieemember. As such, he
      is precisely the sort of plaintiff that the SCRA protects
      Contrary to the City's arguments and the District Court's
      implicit holding, his complaint is not defeated for lack of
      statutory standing.

              Unfortunately for Davis, he has notand cannot
      state a claim for relief under the SCRA. "To survive a motion
      to dismiss, a complaint must contain sufficient factual matter,
      accepted as true, to state a claim to relief that is plausible on
      its   face." Ashcroft    v.   Iqbal,   556 U.S. 662,678(2009) (mt
                                               5
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 15 of 27



       quotation marks omitted). To state a claim for relief, Davis
       was required to plead facts sufficient to prove the following
       elements of a SCRA claim: (1) an interest at a rate above six
      percent (2) assessed against a servicemember while on active
      duty (3) based on delinquent property taxes relating to
       "property .. owned individually by a servicemember or
      jointly by a servicemember and a de        ent or dependents."
       50 U.S.C. 3991(e) (emphasis added). Davis cannot satisfr
      the second or third elements because it is undisputed that
       Global owns the property in question and that Global alone is
      liable for the tax debt.4 Under Pennsylvania law, Global has
      its own legal identity, so Davis may not invoke the SCRA on

      Global's behalf,    Nor may Davis appeal       to equity to pierce
      Global's corporate veil based purely on the unremarkable fact
      that Global has no corporate shareholders or personnel
      beyond Davis and absent any evidence that the entity was
      nothing but a sham, as it is well established that "[mjere stock
      ownership by a small number of shareholders does not blur
      the distinction between individual and qorporate entities." In
      re Deed of Trust of Rose Hill Cemetery Ass 'n, 590 A.24 1, 4
      (Pa. 1991);   see also Sams    v.   Redevelopment Auth. of City of
      New Kensington, 244 A.2d 779, 781 (Pa. 1968) ("tOme
      cannot choose to accept the benefits incident to a corporate
      enterprise and at the same time brush aside the corporate form
      when it works to their (shareholders') detriment."); Barium
      Steel Corp. v. Wiley, 108 A.2d 336, 341 (Pa. 1954) ("The fact
      that one person owns all of the stock does not make him and
      the corporation one and the same person.").

             Con         to Davis's argument, an SCRA provision
      circumscribing the obligations of servicemcmber-owned
      businesses hurtsnot helpshis case. That provision states
      that "ti]f the trade or business ... of a servicemember has an
      obligation or liability for which the servicemember is
      personally liable, the assets of the servicemember not held in
      connection with the trade or business may not be available
      for satisfaction of the obligation or liability during the
      servicemember's military service." 50 U.S.C. § 4026(a)


             4Davis concedes that the City has applied the    SCRA
      to his personal liabilities,
                                          6
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 16 of 27



      (emphases added). This simply means that "business creditors
      cannot execute on the servicemember's non-business assets to
      satis1' business debt." Newton v. Bank of McKenney, 2012
      WL 1752407, at *6 (ED. Va, May 16, 2012). A "necessary
      corollary to this rule is that business creditors are allowed to
      execute on the servicemember's buriness as.ret$ to satisfy
      business debt, even if the servicemember is personally liable
      for that business debt." Id. (emphases added). Hence, even in
      the event that some or all of the money owed by Global to the
      City effectively comes out of Davis's pocket, nothing in the
      SCRA would stand in the way so long as his non-business
      assets are respected.

                                    III
             It is an unfortunate twist of law and fate that Davis and
     his wife, in transferring their rental property to Global in
     order to protect their financial interests during Davis's period
     of military service, unwittingly undermined existing
     safeguards of those interests, Undoubtedly, denying these
     safeguards to Davis's closely held company runs counter to
     the SCRA's ambition that servicemembers feel secure in their
     tax and legal affairs during their active duty deployments so
     that they may "devote their entire energy to the defense needs
     of the Nation." 50 U.S.C. § 3902(1). But Davis received all
     the benefits that come with incorporation, and he cannot have
     his cake and eat it too. The clear text of the SCRA limits its
     protections to property owned individually by a
     servicemember or jointly by a servicemember and a
     dependent Because Global owns the property in question and
     the City has applied the SCEA's protections to Davis's
     personal liabilities, we will affirm the judgment of the District
     Court.




                                    7
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 17 of 27




                       EXHIBIT D
         Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 18 of 27




IN THE MATTER OF:
 Strange v. Global Virtual Opportunities, Inc. Case No. 6:18-CV-OO 180-ADA-
JCM pending before:
THE UNTTED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
OF TEXAS, WACO DIVISION


BEFORE ME SWORE,               , In SUrtroje           a resident of the Parish of
Caddo, in the State of Louisiana who is a natural person at the location of
 51 reverr            , Louisiana on the date of:

          Jr                          ,2018;thefollowing:



    1.   I,    Z             .S- cc       -f       ,   am a party to this action as

          captioned above.

    2. I have personally conducted a search via the internet at the United States

         Department of Defense Manpower Data Center website in regard to

         Defendant Global Virtual Opportunities, Inc., and have attached a document

         pertaining to that search as Exhibit A.

    3. The document referred to and numbered using a "Certificate ID#" is a report

         from the DOD regarding whether "Global Virtual Opportunities" is in

         Military service and afforded protections or not under the

         SERVICEMEMBERS CIVIL RELIEF ACT" SCRA".

    4. The Certificate ID #     of the document is FYBCLPTSDZ3OFDM.



Page 1 of 3
      Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 19 of 27




    5. The certificate referenced in the foregoing paragraphs was generated on 11-

        1-2018 at 6:49 pm PST.

    6. The document indicates that Global Virtual Opportunities is NOT in

        Military Service as of 11-1-2018, and therefore not afforded protection

        under the "SCRA".

    7. As     of December 6, 2018, the Defendant has not made an appearance or

        contacted, me, the Plaintiff to request more time to respond to this Lawsuit

        save the one e-mail that, I, the Plaintiff received from the Corporations

        President indicating their acknowledgement of being served the summons in

        this action on September 6, 2018 via their Registered Agent.

    8. In my complaint I feel that I sufficiently pled a claim on which the court

        could grant relief under The Telephone Consumer Protection Act of 1991,

        and seek damages from the Defendant pursuant to 47 U.S. Code §

        227(b)(1)(A)(iii) in the amount of $500 to $1,500 for the violation of the act

        that I have demonstrated by the Prima Fade evidence in my complaint.

   9. Because the Defendant failed to appear and consequently discovery never

        occurred, I was not able to prove that the Defendant or alternatively their

        third-party marketing partner (that the Defendant admits to hiring but does

        not know who sent the text message/s) sent me more than just the one text

        message.


Page 2 of 3
        Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 20 of 27




      10. The text message   itself suggests that there were more than one text

         message/s sent to my celiphone.

     11. Accordingly, I believe the Defendant is liable to me for between $500 and

         $1,500 for the one documented text message, and the court at its discretion

         could award $3,000 in damages if persuaded by the evidence that there was

         more than one text message spam, along with costs of bringing the action.




        /--'.-       w('
               Dated




   Notary Public                                Clinton Strange (Deponent)




   a          e/(,                         7O      \i/.ibtAr,)   fle,   Gre,J /4 7/033
 Notary Number                                Address of Deponent




Page 3 of 3
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 21 of 27




                       EXHIBIT A
                               Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page   22 of 27
                                                                                       Results as or: NovO12O1fl                                                                                       CE 48:29   PM
Department of Defense Manpower Data Center
                                                                                                                                                                                                         SCRA 4.9




                               Status Report
                              Pursuant to Servicemembers Civil Relief Act



SSN:                             xxx-xx-01 11
Birth Date:                      J u n-XX-2 007

Last    Name:                    OPPORTUNITIES
First   Name:                    GLOBAL
Middle Name:                     VIRTUAL
Status As Of:                    Nov-01-2018
Certificate ID:                  FYBCLPTSDZ3OFDM

                                                                                   On Active Duty On Active Duty Statue Date

            Active Duty Stan Date                                  Active Duty End Dale                                              tAlus                                      Service Coniponent

                    NA                                                     NA                                                        No                                                NA

                                                         This response reflects the tirdivvluats active duty status based on the Active Dut' Status 0510




                                                                          Lelt Active Duty Watia, 367 Days of Active Duly Status Date
            Adivø Duty Start Date                                                                                                   Status                                      Service Con'iponertt
                                                                                                           I

                    NA                                                     NA                                                        No                                                NA
                                            This response reflects where the todtvtdual   ft   active duty Matus within 367 days precedtog the Active Duty Status Date




                                                    The Member or NivMer tint Was Notified of a Futise CeU'Up to Active Duty on Active Duty Status Date

         Ovder Notification   Stvt   Date                       Order Notification End Oste                                         Statue                                      Service Cceponent

                     NA                                                    NA                                                        No                                                NA

                                               This response collectswhether the individuat or his/her smit ties   rscived    Iy   rofification to report for   aCtcv   ditty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the UnifOm'red Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notilication of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Giglirig Rd.
Seaside, CA 93955
      Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 23 of 27




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


CLINTON STRANGE,
Plaintiff

                                                           6:1 8-CV-OO 1 80-ADA-JCM




V.




GLOBAL VIRTUAL OPPORTUNITIES, INC.,
Defendant




 IPROPOSED1 ORDER ON MOTION FOR FINAL DEFAULT JUDGMENT


THE COURT has reviewed the pertinent portions of the record and is otherwise fully

advised in the premises. On September 6, 2018, Defendant was served. Defendant's
      Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 24 of 27




response to Plaintiff's Complaint was due on September 27, 2018. However, as of

December 6, 2018 Defendant has failed to respond to Plaintiff's Complaint and, in fact, has

failed to file an appearance in this case. Accordingly, it is

ORDERED AND ADJUDGED that Plaintiff's Motion for a Judgement of Default be

GRANTED against Defendant.




DONE AND ORDERED in Chambers at _______________,Texas on this _____day of

                          ,2019.



                                                          Judge
                                                UNITED STATES                      JUDGE
 Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 25 of 27




                                 Certificate of Service:
 1. I, Clinton Strange, hereby certify that I have served upon the Defendant a
        copy of this court filing styled as "PLAINTIFF'S MOTION FOR
       DEFAULT JEJDGEMENT" by placing a copy in the U.S. Mail with
                sufficient 1st class postage affixed on /2-C--         -O(.I




2. The mailing was addressed to:

   Global Virtual Opportunities, Inc.
   6701 Guada Coma Drive
   Schertz, TX 78154

3. Under the pains and penalties   of perjury of the laws of the United States of
  America I, Clinton Strange, declare that the above statements are both true
  and correct.
                  C)


        Clinton   Stfe                    Dated
  Pro Se
  7021 Winbum Drive
  Greenwood, LA 71033
  318-423-5057
  parsmllcgmail.com
Case 6:18-cv-00180-ADA-JCM Document 14 Filed 12/10/18 Page 26 of 27

                             O     Nc;o,          r



                                        GREENWOOD
                                     7070 ADAMS LN
                                       GREENWOOD
                                           LA
                                      71033-9998
                                      2138480639
                     12/06/2018
                                      (800)275-8777       2:06 PM

                 Product
                                                Sale        Final
                 Description
                                                Qty         Price
                 First-Class                I
                 Mail                                     $1.84
                 Large Envelope
                        (Domestic)
                        (SCHERTZ, TX 78154)
                        (Weight:O Lb 4.70 02)
                        (Estimated Delivery
                                            Date)
                        (Monday 12/10/2018)

                Total
                                                         $1.84
                Cash
                Change                                  $2.00
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